                    Case 19-41622               Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                              Desc Main
                                                               Document     Page 1 of 80
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA FOURTH DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     JOSEPH                                                          NICOLE
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        RICHARD                                                         LEIGH
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   SCHARBER                                                        SCHARBER
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years JOE SCHARBER                                                         FKA NICOLE COMPTON
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7705                                                     xxx-xx-0986
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                    Case 19-41622           Doc 1         Filed 05/30/19 Entered 05/30/19 12:00:53                             Desc Main
                                                            Document     Page 2 of 80
Debtor 1   JOSEPH RICHARD SCHARBER
Debtor 2   NICOLE LEIGH SCHARBER                                                                      Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and                                                                       I have not used any business name or EINs.
     Employer Identification    I have not used any business name or EINs.
     Numbers (EIN) you have                                                                    FDBA Nicole Scharber Independent Contractor for
     used in the last 8 years FDBA Joseph Scharber Independent                                 Instcart
                                 Contractor for Instcart                                       FDBA Nicole Scharber, Etsy Sales
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 8947 EDEN PRAIRIE RD
                                 EDEN PRAIRIE, MN 55347
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 HENNEPIN
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 19-41622            Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                               Desc Main
                                                              Document     Page 3 of 80
Debtor 1    JOSEPH RICHARD SCHARBER
Debtor 2    NICOLE LEIGH SCHARBER                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 19-41622            Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                            Document     Page 4 of 80
Debtor 1    JOSEPH RICHARD SCHARBER
Debtor 2    NICOLE LEIGH SCHARBER                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 19-41622              Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                            Desc Main
                                                              Document     Page 5 of 80
Debtor 1    JOSEPH RICHARD SCHARBER
Debtor 2    NICOLE LEIGH SCHARBER                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                    Case 19-41622           Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                                    Desc Main
                                                           Document     Page 6 of 80
Debtor 1    JOSEPH RICHARD SCHARBER
Debtor 2    NICOLE LEIGH SCHARBER                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ JOSEPH RICHARD SCHARBER                                       /s/ NICOLE LEIGH SCHARBER
                                 JOSEPH RICHARD SCHARBER                                           NICOLE LEIGH SCHARBER
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 30, 2019                                      Executed on     May 30, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                    Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                             Desc Main
                                                                Document     Page 7 of 80
Debtor 1   JOSEPH RICHARD SCHARBER
Debtor 2   NICOLE LEIGH SCHARBER                                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.              I personally conferred with and advised the
                                debtors /e/Megan M.R. McCarthy #0396686
                                /s/ Robert J. Hoglund                                              Date         May 30, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Robert J. Hoglund 210997
                                Printed name

                                Hoglund, Chwialkowski & Mrozik P.L.L.C
                                Firm name

                                1781 West County Road B
                                PO Box 130938
                                Roseville, MN 55113-4052
                                Number, Street, City, State & ZIP Code

                                Contact phone     (651) 628-9929                             Email address         bestcase@hoglundlaw.com
                                210997 MN
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                       Case 19-41622                  Doc 1            Filed 05/30/19 Entered 05/30/19 12:00:53                                                  Desc Main
                                                                         Document     Page 8 of 80
 Fill in this information to identify your case:

 Debtor 1                   JOSEPH RICHARD SCHARBER
                            First Name                           Middle Name                          Last Name

 Debtor 2                   NICOLE LEIGH SCHARBER
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            332,450.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $             23,024.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $            355,474.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            293,455.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $               5,745.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $            145,567.00


                                                                                                                                     Your total liabilities $                444,767.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $               5,850.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $               5,847.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                      Desc Main
                                                                   Document     Page 9 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                      Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       6,599.96


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             5,745.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            52,254.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             57,999.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                       Case 19-41622                     Doc 1              Filed 05/30/19 Entered 05/30/19 12:00:53                                        Desc Main
                                                                             Document     Page 10 of 80
 Fill in this information to identify your case and this filing:

 Debtor 1                    JOSEPH RICHARD SCHARBER
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    NICOLE LEIGH SCHARBER
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        8947 Eden Prairie Rd                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Eden Prairie                      MN        55347-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                               $332,450.00                  $332,450.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Hennepin                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Homestead:
                                                                                Legally described as:
                                                                                Lot 3, Block 1, Eden Hills First Addition, according to the plat thereof on file and
                                                                                of record in the Office of the Registrar of Deeds, in and for Hennepin County,
                                                                                Minnesota
                                                                                FMV:
                                                                                $332,450 - Comparative Market Analysis completed on 4/10/2019
                                                                                $294,400 - 2019 Property Tax


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $332,450.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                  Case 19-41622                   Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 11 of 80
 Debtor 1        JOSEPH RICHARD SCHARBER
 Debtor 2        NICOLE LEIGH SCHARBER                                                                              Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Mazda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      3 Touring                                       Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                115,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         FMV: Edmunds- Private Party,
         Clean                                                       Check if this is community property                                $7,536.00                  $7,536.00
                                                                     (see instructions)



  3.2    Make:       Hyundai                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Santa Fe                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                100,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         FMV: Edmunds- Private Party,
         Clean                                                       Check if this is community property                                $9,412.00                  $9,412.00
                                                                     (see instructions)



  3.3    Make:       Pontiac                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Grand Prix                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                189,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         FMV: Edmunds - Private Party,
         Clean                                                       Check if this is community property                                $1,282.00                    $641.00
         (husband joint with son)                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $17,589.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                     Desc Main
                                                                  Document     Page 12 of 80
 Debtor 1       JOSEPH RICHARD SCHARBER
 Debtor 2       NICOLE LEIGH SCHARBER                                                               Case number (if known)


                                    Jointly owned:
                                    Sofa, Chairs, Dining Room, End Tables, Kitchenware, General
                                    Household, Dresser, Bed, Bathroom & Bedroom Linens, Display
                                    Cabinets - $1420
                                    Household Tools - $200
                                    Push Lawnmower - $25
                                    Books - $32                                                                                                  $1,677.00


                                    Jointly owned:
                                    Snowblower - $200                                                                                              $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Jointly owned:
                                    Television - $30
                                    Stereo - $150
                                    DVD Player - $10
                                    DVD/CDs - $120
                                    Computer -$70                                                                                                  $380.00


                                    Jointly owned:
                                    Cell Phone (2) - Leased Through Provider. Not Property of the Estate                                               $0.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Outdoor Games - $50
                                    Weights - $100
                                    Bicycles (3) - $15                                                                                             $165.00


                                    Trombone - $115
                                    Violin (Rented from Quinn Violin - Not Property of The Estate. For
                                    Disclosure Purposes Only)                                                                                      $115.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                   Case 19-41622                             Doc 1               Filed 05/30/19 Entered 05/30/19 12:00:53                              Desc Main
                                                                                  Document     Page 13 of 80
 Debtor 1         JOSEPH RICHARD SCHARBER
 Debtor 2         NICOLE LEIGH SCHARBER                                                                                       Case number (if known)


                                            Jointly owned:
                                            Wearing Apparel                                                                                                             $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Debtor husband:
                                            Wedding Ring                                                                                                                $100.00


                                            Debtor wife:
                                            Wedding Ring                                                                                                                $450.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Dog (1), Guinea Pig (1) - No Value                                                                                              $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $3,387.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Jointly owned:
                                                                                                                                 Cash husband
                                                                                                                                 - $4
                                                                                                                                 Cash wife - $7                           $11.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Bank of America Checking ($90) and Savings
                                              17.1.                                               ($22) Accounts (joint)                                                $112.00


                                                                                                  Spire Credit Union Savings ($5) Account
                                              17.2.                                               (husband)                                                                 $5.00

Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                               Best Case Bankruptcy
                  Case 19-41622                      Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                                 Desc Main
                                                                   Document     Page 14 of 80
 Debtor 1         JOSEPH RICHARD SCHARBER
 Debtor 2         NICOLE LEIGH SCHARBER                                                                           Case number (if known)



                                          17.3.                                 Spire Credit Union Savings ($5) Account (wife)                                  $5.00



                                          17.4.                                 Health Savings Account (HSA) (wife)                                         $282.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
Official Form 106A/B                                                     Schedule A/B: Property                                                                page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                         Desc Main
                                                                  Document     Page 15 of 80
 Debtor 1       JOSEPH RICHARD SCHARBER
 Debtor 2       NICOLE LEIGH SCHARBER                                                                    Case number (if known)

                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Jointly owned:
                                                              Anticipated 2019 Tax Refunds - $0 (43%
                                                              as of the date of filing) Debtors owe past
                                                              tax debt and will not likely receive a 2019
                                                              refund                                                                                   $0.00


                                                         Jointly owned:
                                                              Anticipated 2018 Property Tax Refunds -
                                                              $1,620                                                                             $1,620.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Debtor husband:
                                                      Wages - Debtor exempt 75% of pre-petition wages, including
                                                      those wages deposited within 20 days of the petition date.                                       $0.00


                                                      Debtor wife:
                                                      Wages - Debtor exempt 75% of pre-petition wages, including
                                                      those wages deposited within 20 days of the petition date.                                       $0.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                         Surrender or refund
                                                                                                                                     value:

                                         Term Life Insurance Policy through
                                         Employer - no cash value                                                                                      $0.00


                                         Term Life Insurance Policy through
                                         Employer - no cash value                                                                                      $0.00


                                         Gerber Whole Life Insurance Policy - $0
                                         cash surrender value as of 5/29/2019                   Zac                                                    $0.00


                                         Gerber Whole Life Insurance Policy - $13
                                         cash surrender value as of 5/29/2019                   Isaiah                                               $13.00


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                  Case 19-41622                       Doc 1            Filed 05/30/19 Entered 05/30/19 12:00:53                                                Desc Main
                                                                        Document     Page 16 of 80
 Debtor 1        JOSEPH RICHARD SCHARBER
 Debtor 2        NICOLE LEIGH SCHARBER                                                                                           Case number (if known)

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $2,048.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                   Case 19-41622                         Doc 1            Filed 05/30/19 Entered 05/30/19 12:00:53                                               Desc Main
                                                                           Document     Page 17 of 80
 Debtor 1         JOSEPH RICHARD SCHARBER
 Debtor 2         NICOLE LEIGH SCHARBER                                                                                                 Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $332,450.00
 56. Part 2: Total vehicles, line 5                                                                           $17,589.00
 57. Part 3: Total personal and household items, line 15                                                       $3,387.00
 58. Part 4: Total financial assets, line 36                                                                   $2,048.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $23,024.00              Copy personal property total           $23,024.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $355,474.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                             Desc Main
                                                                  Document     Page 18 of 80
 Fill in this information to identify your case:

 Debtor 1                  JOSEPH RICHARD SCHARBER
                           First Name                       Middle Name                 Last Name

 Debtor 2                  NICOLE LEIGH SCHARBER
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      8947 Eden Prairie Rd Eden Prairie, MN                          $332,450.00                               $59,703.00      Minn. Stat. §§ 510.01, 510.02
      55347 Hennepin County
      Homestead:                                                                           100% of fair market value, up to
      Legally described as:                                                                any applicable statutory limit
      Lot 3, Block 1, Eden Hills First Addition,
      according to the plat thereof on file and
      of record in the Office of the Registrar of
      Deeds, in and for Hennepin Cou
      Line from Schedule A/B: 1.1

      2013 Hyundai Santa Fe 100,000 miles                              $9,412.00                                      $1.00    Minn. Stat. § 550.37 subd. 12a
      FMV: Edmunds- Private Party, Clean
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2004 Pontiac Grand Prix 189,000 miles                               $641.00                                  $641.00     Minn. Stat. § 550.37 subd. 12a
      FMV: Edmunds - Private Party, Clean
      (husband joint with son)                                                             100% of fair market value, up to
      Line from Schedule A/B: 3.3                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                Desc Main
                                                                  Document     Page 19 of 80
 Debtor 1    JOSEPH RICHARD SCHARBER
 Debtor 2    NICOLE LEIGH SCHARBER                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Jointly owned:                                                   $1,677.00                                  $1,677.00        Minn. Stat. § 550.37 subd. 4(b)
     Sofa, Chairs, Dining Room, End Tables,
     Kitchenware, General Household,                                                       100% of fair market value, up to
     Dresser, Bed, Bathroom & Bedroom                                                      any applicable statutory limit
     Linens, Display Cabinets - $1420
     Household Tools - $200
     Push Lawnmower - $25
     Books - $32
     Line from Schedule A/B: 6.1

     Jointly owned:                                                      $380.00                                   $380.00        Minn. Stat. § 550.37 subd. 4(b)
     Television - $30
     Stereo - $150                                                                         100% of fair market value, up to
     DVD Player - $10                                                                      any applicable statutory limit
     DVD/CDs - $120
     Computer -$70
     Line from Schedule A/B: 7.1

     Jointly owned:                                                      $300.00                                   $300.00        Minn. Stat. § 550.37 subd. 4(a)
     Wearing Apparel
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debtor husband:                                                     $100.00                                   $100.00        Minn. Stat. § 550.37 subd. 4(c)
     Wedding Ring
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debtor wife:                                                        $450.00                                   $450.00        Minn. Stat. § 550.37 subd. 4(c)
     Wedding Ring
     Line from Schedule A/B: 12.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Health Savings Account (HSA) (wife)                                 $282.00                                   $282.00        Minn. Stat. § 550.37 subd. 26(a)
     Line from Schedule A/B: 17.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debtor husband:                                                        $0.00                                     $0.00       Minn. Stat. § 550.37 subd. 13
     Wages - Debtor exempt 75% of
     pre-petition wages, including those                                                   100% of fair market value, up to
     wages deposited within 20 days of the                                                 any applicable statutory limit
     petition date.
     Line from Schedule A/B: 30.1

     Debtor wife:                                                           $0.00                                     $0.00       Minn. Stat. § 550.37 subd. 13
     Wages - Debtor exempt 75% of
     pre-petition wages, including those                                                   100% of fair market value, up to
     wages deposited within 20 days of the                                                 any applicable statutory limit
     petition date.
     Line from Schedule A/B: 30.2

     Gerber Whole Life Insurance Policy -                                 $13.00                                    $13.00        Minn. Stat. § 550.37 subd. 23
     $13 cash surrender value as of
     5/29/2019                                                                             100% of fair market value, up to
     Beneficiary: Isaiah                                                                   any applicable statutory limit
     Line from Schedule A/B: 31.4



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                 Desc Main
                                                                  Document     Page 20 of 80
 Debtor 1    JOSEPH RICHARD SCHARBER
 Debtor 2    NICOLE LEIGH SCHARBER                                                              Case number (if known)

 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                   page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                     Desc Main
                                                                  Document     Page 21 of 80
 Fill in this information to identify your case:

 Debtor 1                   JOSEPH RICHARD SCHARBER
                            First Name                      Middle Name                      Last Name

 Debtor 2                   NICOLE LEIGH SCHARBER
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     ONEMAIN FINANCIAL                        Describe the property that secures the claim:                   $8,817.00                $7,536.00           $1,281.00
         Creditor's Name                          2012 Mazda 3 Touring 115,000 miles
                                                  FMV: Edmunds- Private Party, Clean
         ATTN: BANKRUPTCY
                                                  As of the date you file, the claim is: Check all that
         601 NW 2ND STREET                        apply.
         EVANSVILLE, IN 47708                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   SECURITY AGREEMENT ON
       community debt

 Date debt was incurred          2017                      Last 4 digits of account number        2654




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                  Case 19-41622                    Doc 1            Filed 05/30/19 Entered 05/30/19 12:00:53                             Desc Main
                                                                     Document     Page 22 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER                                                                             Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 NICOLE LEIGH SCHARBER
               First Name                  Middle Name                      Last Name


 2.2     SPIRE CREDIT UNION                         Describe the property that secures the claim:                      $8,166.00       $9,412.00             $0.00
         Creditor's Name                            2013 Hyundai Santa Fe 100,000 miles
         ATTN: BANKRUPTCY                           FMV: Edmunds- Private Party, Clean
         DEPT.
         2025 LARPENTUR AVE                         As of the date you file, the claim is: Check all that
                                                    apply.
         WEST                                            Contingent
         FALCON HEIGHTS, MN
         55113
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   SECURITY AGREEMENT ON
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         0200

 2.3     SPIRE CREDIT UNION                         Describe the property that secures the claim:                      $3,725.00       $9,412.00       $2,479.00
         Creditor's Name                            2013 Hyundai Santa Fe 100,000 miles
                                                    FMV: Edmunds- Private Party, Clean
         2025 LARPENTEUR AVE
                                                    As of the date you file, the claim is: Check all that
         FALCON HEIGHTS, MN                         apply.
         55113                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Cross-collaterized loan agreement
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         2222




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                  Case 19-41622                    Doc 1            Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                                     Document     Page 23 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER                                                                             Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 NICOLE LEIGH SCHARBER
               First Name                  Middle Name                      Last Name


         US BANK HOME
 2.4                                                                                                                $272,747.00           $332,450.00             $0.00
         MORTGAGE                                   Describe the property that secures the claim:
         Creditor's Name                            8947 Eden Prairie Rd Eden Prairie,
                                                    MN 55347 Hennepin County
                                                    Homestead:
                                                    Legally described as:
                                                    Lot 3, Block 1, Eden Hills First
                                                    Addition, according to the plat thereof
                                                    on file and of record in the Office of the
         ATTN: BANKRUPTCY                           Registrar of Deeds, in and
                                                    As of the date you file, the claim is: Check all that
         800 NICOLLET MALL                          apply.
         MINNEAPOLIS, MN 55402                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   REAL ESTATE MORTGAGE ON
       community debt

 Date debt was incurred          2015                        Last 4 digits of account number         9959


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $293,455.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $293,455.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                        Desc Main
                                                                  Document     Page 24 of 80
 Fill in this information to identify your case:

 Debtor 1                     JOSEPH RICHARD SCHARBER
                              First Name                    Middle Name                        Last Name

 Debtor 2                     NICOLE LEIGH SCHARBER
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          IRS                                                    Last 4 digits of account number       NA                 $5,508.00         $5,508.00                   $0.00
              Priority Creditor's Name
              PO BOX 7346                                            When was the debt incurred?           2017, 2018
              PHILADELPHIA, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        TAXES




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              24734                                           Best Case Bankruptcy
                   Case 19-41622                  Doc 1           Filed 05/30/19 Entered 05/30/19 12:00:53                                            Desc Main
                                                                   Document     Page 25 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                            Case number (if known)

 2.2        MN DEPT OF REVENUE                                       Last 4 digits of account number     NA                     $237.00                $237.00                   $0.00
            Priority Creditor's Name
            551 BKCY SECTION CEU DEPT                                When was the debt incurred?         2018
            PO BOX 64447
            SAINT PAUL, MN 55164
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            TAXES

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        AMEX                                                       Last 4 digits of account number        5663                                                        $1,926.00
            Nonpriority Creditor's Name
            CORRESPONDENCE/BANKRUPTCY                                  When was the debt incurred?            2015
            PO BOX 981540
            EL PASO, TX 79998
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 26 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

          BEHAVIORAL HEALTH CARE
 4.2      PROVIDERS                                                  Last 4 digits of account number       B000                                               $310.00
          Nonpriority Creditor's Name
          1405 NORTH LILAC DR                                        When was the debt incurred?           2018
          GOLDEN VALLEY, MN 55405
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.3      CAPITAL ONE                                                Last 4 digits of account number       2912                                           $16,335.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2016
          PO BOX 30285
          SALT LAKE CITY, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.4      CAPITAL ONE                                                Last 4 digits of account number       9036                                             $5,795.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2012
          PO BOX 30285
          SALT LAKE CITY, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 27 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.5      CAPITAL ONE                                                Last 4 digits of account number       6063                                             $1,789.00
          Nonpriority Creditor's Name
          PO BOX 30253                                               When was the debt incurred?           2018
          SALT LAKE CITY, UT 84130-0253
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.6      CHASE CARD SERVICES                                        Last 4 digits of account number       0679                                             $3,466.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2016
          PO BOX 15298
          WILMINGTON, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.7      CITIBANK                                                   Last 4 digits of account number       6539                                             $5,735.00
          Nonpriority Creditor's Name
          ATTN: RECOVERY/CENTRALIZED                                 When was the debt incurred?           2015
          BANKRUPTCY
          PO BOX 790034
          ST LOUIS, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 28 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.8      CITIBANK                                                   Last 4 digits of account number       9853                                               $781.00
          Nonpriority Creditor's Name
          PO BOX 6243                                                When was the debt incurred?           2018
          SIOUX FALLS, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.9      COMENITY BANK/LANE BRYANT                                  Last 4 digits of account number       1946                                               $916.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2004
          PO BOX 182125
          COLUMBUS, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.1      CREDIT FIRST NATIONAL
 0        ASSOCIATION                                                Last 4 digits of account number       2298                                             $1,340.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2016
          PO BOX 81315
          CLEVELAND, OH 44181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 29 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.1      DEPARTMENT OF
 1        EDUCATION/NELNET                                           Last 4 digits of account number       4199                                             $8,821.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2009
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN

 4.1      DEPARTMENT OF
 2        EDUCATION/NELNET                                           Last 4 digits of account number       3086                                             $7,445.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2008
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN

 4.1      DEPARTMENT OF
 3        EDUCATION/NELNET                                           Last 4 digits of account number       2986                                             $5,837.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2008
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 30 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.1      DEPARTMENT OF
 4        EDUCATION/NELNET                                           Last 4 digits of account number       4099                                             $5,650.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2009
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN

 4.1      DEPARTMENT OF
 5        EDUCATION/NELNET                                           Last 4 digits of account number       4399                                             $5,456.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2010
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN

 4.1      DEPARTMENT OF
 6        EDUCATION/NELNET                                           Last 4 digits of account number       4299                                             $2,198.00
          Nonpriority Creditor's Name
          ATTN: CLAIMS                                               When was the debt incurred?           2010
          PO BOX 82505
          LINCOLN, NE 68501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 31 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.1
 7        EMERGENCY PHYSICIANS PA                                    Last 4 digits of account number       8254                                               $836.00
          Nonpriority Creditor's Name
          NW 6438 PO BOX 1450                                        When was the debt incurred?           2017
          MINNEAPOLIS, MN 55485-6440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.1
 8        FAIRIVEW PHARMACY                                          Last 4 digits of account number       5057                                                 $16.00
          Nonpriority Creditor's Name
          909 FULTON ST SE                                           When was the debt incurred?           NA
          MINNEAPOLIS, MN 55455
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.1                                                                                                       VARIOUS
 9        FAIRVIEW CLINICS BURNSVILLE                                Last 4 digits of account number       ACCOUNTS                                           $462.00
          Nonpriority Creditor's Name
          303 E NICOLLET BLVD                                        When was the debt incurred?           VARIOUS DATES
          BURNSVILLE, MN 55337
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 32 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.2                                                                                                       VARIOUS
 0        FAIRVIEW CLINICS EDEN PRAIRIE                              Last 4 digits of account number       ACCOUNTS                                         $1,460.00
          Nonpriority Creditor's Name
          830 PRAIRIE CENTER DR                                      When was the debt incurred?           2017
          EDEN PRAIRIE, MN 55344
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2      FAIRVIEW COUNSELING CENTER                                                                       VARIOUS
 1        EDINA                                                      Last 4 digits of account number       ACCOUNTS                                           $681.00
          Nonpriority Creditor's Name
          3400 W 66TH ST                                             When was the debt incurred?           2017
          MINNEAPOLIS, MN 55435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2                                                                                                       VARIOUS
 2        FAIRVIEW HEALTH SERVICES                                   Last 4 digits of account number       ACCOUNTS                                         $3,132.00
          Nonpriority Creditor's Name
          PO BOX 9372                                                When was the debt incurred?           VARIOUS DATES
          MINNEAPOLIS, MN 55440-9372
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 33 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.2      FAIRVIEW
 3        ORTHOTICS-PROSTHETICS                                      Last 4 digits of account number       4646                                                   $5.00
          Nonpriority Creditor's Name
          2200 UNIVERSITY AVE W                                      When was the debt incurred?           2017
          #110
          SAINT PAUL, MN 55114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2      FAIRVIEW SPORTS & ORTHOPEDIC                                                                     VARIOUS
 4        MEDICINE                                                   Last 4 digits of account number       ACCOUNTS                                             $97.00
          Nonpriority Creditor's Name
          10961 CLUB W PKWY NE                                       When was the debt incurred?           2017
          BLAINE, MN 55449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2
 5        FIRST NATIONAL BANK                                        Last 4 digits of account number       1098                                               $909.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2015
          1620 DODGE ST MAILSTOP 4440
          OMAHA, NE 68197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 34 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.2      HALVORSON LANGEMO &
 6        PASCHKE                                                    Last 4 digits of account number       NA                                               $4,456.00
          Nonpriority Creditor's Name
          W 311 10TH AVE S                                           When was the debt incurred?           2017
          BUFFALO, MN 55313
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   SERVICES


 4.2      HEALTHEAST MEDICAL
 7        TRANSPORTATION                                             Last 4 digits of account number       9857                                               $441.00
          Nonpriority Creditor's Name
          NW 7205                                                    When was the debt incurred?           2018
          PO BOX 1450
          MINNEAPOLIS, MN 55485-7205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.2      HENNEPIN COUNTY MEDICAL
 8        CENTER                                                     Last 4 digits of account number       6335                                             $1,108.00
          Nonpriority Creditor's Name
          730 S 8TH ST                                               When was the debt incurred?           2018
          MINNEAPOLIS, MN 55415
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 35 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.2
 9        KOHLS/CAPITAL ONE                                          Last 4 digits of account number       7379                                             $1,442.00
          Nonpriority Creditor's Name
          PO BOX 3115                                                When was the debt incurred?           2013
          MILWAUKEE, WI 53201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.3
 0        KOHLS/CAPITAL ONE                                          Last 4 digits of account number       1917                                               $577.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2010
          PO BOX 30285
          SALT LAKE CITY, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.3
 1        MENTAL HEALTH SYSTEMS                                      Last 4 digits of account number       5393                                                 $35.00
          Nonpriority Creditor's Name
          1700 S HIGHWAY 36 W                                        When was the debt incurred?           NA
          STE 130
          ROSEVILLE, MN 55113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 36 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.3
 2        NAVIENT                                                    Last 4 digits of account number       1203                                             $3,674.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2007
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.3
 3        NAVIENT                                                    Last 4 digits of account number       0817                                             $3,234.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2006
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.3
 4        NAVIENT                                                    Last 4 digits of account number       1203                                             $1,988.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2006
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 37 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.3
 5        NAVIENT                                                    Last 4 digits of account number       0817                                             $1,806.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2008
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.3
 6        NAVIENT                                                    Last 4 digits of account number       0817                                             $1,753.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2006
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.3
 7        NAVIENT                                                    Last 4 digits of account number       0817                                             $1,531.00
          Nonpriority Creditor's Name
          PO BOX 9500                                                When was the debt incurred?           2007
          WILKES BARRE, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 38 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.3
 8        NAVIENT                                                    Last 4 digits of account number       1203                                             $1,420.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2006
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.3
 9        NAVIENT                                                    Last 4 digits of account number       1203                                               $902.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2007
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.4
 0        NAVIENT                                                    Last 4 digits of account number       1203                                               $441.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2008
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 39 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.4
 1        NAVIENT                                                    Last 4 digits of account number       1203                                                 $98.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2006
          PO BOX 9000
          WILES-BARR, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         STUDENT LOAN
 4.4
 2        NYSTROM & ASSOCIATES LTD                                   Last 4 digits of account number       2960                                               $214.00
          Nonpriority Creditor's Name
          1900 SILVER LAKE RD NW STE 110                             When was the debt incurred?           2019
          NEW BRIGHTON, MN 55112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.4
 3        PARK DENTAL                                                Last 4 digits of account number       1866                                               $100.00
          Nonpriority Creditor's Name
          9055 SPRINGBROOK DR                                        When was the debt incurred?           2017
          STE 250
          COON RAPIDS, MN 55433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 40 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.4                                                                                                       VARIOUS
 4        PARK NICOLLET CLINIC                                       Last 4 digits of account number       ACCOUNTS                                           $490.00
          Nonpriority Creditor's Name
          3800 PARK NICOLLET BLVD                                    When was the debt incurred?           2016
          SAINT LOUIS PARK, MN 55416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.4
 5        SPIRE CREDIT UNION                                         Last 4 digits of account number       4323                                             $4,500.00
          Nonpriority Creditor's Name
          2025 LARPENTEUR AVE                                        When was the debt incurred?           2015
          FALCON HEIGHTS, MN 55113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.4      SYNCB/BECKER FURNITURE
 6        WORLD                                                      Last 4 digits of account number       2878                                             $2,458.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2013
          PO BOX 965060
          ORLANDO, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 41 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.4
 7        SYNCHRONY BANK/LOWES                                       Last 4 digits of account number       8610                                             $2,373.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2015
          PO BOX 965060
          ORLANDO, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.4
 8        TARGET                                                     Last 4 digits of account number       5035                                             $2,532.00
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY                                           When was the debt incurred?           2013
          PO BOX 9475
          MINNEAPOLIS, MN 55440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES


 4.4
 9        TNB-VISA (TV) / TARGET                                     Last 4 digits of account number       4428                                             $7,964.00
          Nonpriority Creditor's Name
          C/O FINANCIAL & RETAIL                                     When was the debt incurred?           1999
          SERVICES
          MAILSTOP BV PO BOX 9475
          MINNEAPOLIS, MN 55440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                       Desc Main
                                                                  Document     Page 42 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

 4.5
 0         UAS/AFFINITY PLUS CU                                      Last 4 digits of account number       0054                                           $10,242.00
           Nonpriority Creditor's Name
           2750 E SNELLING SER DR                                    When was the debt incurred?           2015
           ROSEVILLE, MN 55113
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   STUDENT LOAN


 4.5       UNIVERSITY OF MINNESOTA                                                                         VARIOUS
 1         MEDICAL CENTER                                            Last 4 digits of account number       ACCOUNTS                                         $6,493.00
           Nonpriority Creditor's Name
           516 DELAWARE ST SE                                        When was the debt incurred?           VARIOUS DATES
           MINNEAPOLIS, MN 55455
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   MEDICAL


 4.5
 2         US BANK/RMS CC                                            Last 4 digits of account number       4197                                             $1,897.00
           Nonpriority Creditor's Name
           ATTN: BANKRUPTCY                                          When was the debt incurred?           2013
           PO BOX 5229
           CINCINNATI, OH 45201
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CREDIT CARD PURCHASES

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                         Desc Main
                                                                  Document     Page 43 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ALTRAN HEALTH INC                                             Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 200 14TH AVE E                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 SARTELL, MN 56377
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AMERICAN ACCOUNTS &                                           Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ADVISERS INC                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 7460 80TH ST S
 COTTAGE GROVE, MN 55016-3007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DS ERICKSON & ASSOCIATES PLLC                                 Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 920 2ND AVE S STE 800                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55402
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DS ERICKSON & ASSOCIATES PLLC                                 Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 920 2ND AVE S STE 800                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55402
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC SYSTEMS INC                                                Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 444 HWY 96 E                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOX 64378
 SAINT PAUL, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 30 E 7TH STREET SUITE 1222                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 MAIL STOP 5700
 SAINT PAUL, MN 55101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MALACKO LAW OFFICE                                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 135                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 COTTAGE GROVE, MN 55016-0135
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MESSERLI & KRAMER PA                                          Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3033 CAMPUS DR STE 250                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PLYMOUTH, MN 55441
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MEYER & NJUS TANICK PA                                        Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 330 2ND AVE S STE 350                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 MINNEAPOLIS, MN 55401-2212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MIDLAND CREDIT MANAGEMENT                                     Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO BOX 301030                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 LOS ANGELES, CA 90030
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 MIDLAND CREDIT MANAGEMENT                                     Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO BOX 301030                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 LOS ANGELES, CA 90030

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 20 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                         Desc Main
                                                                  Document     Page 44 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                          Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVOSLVE INC                                                  Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 MSC #600                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOX 52163
 PHOENIX, AZ 85072
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVOSLVE INC                                                  Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 MSC #600                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO BOX 52163
 PHOENIX, AZ 85072
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVSOLVE INC                                                  Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1395 N HAYDEN ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SCOTTSDALE, AZ 85257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVSOLVE INC                                                  Line 4.51 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1395 N HAYDEN ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SCOTTSDALE, AZ 85257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVSOLVE INC                                                  Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1395 N HAYDEN ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SCOTTSDALE, AZ 85257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVSOLVE INC                                                  Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1395 N HAYDEN ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SCOTTSDALE, AZ 85257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 REVSOLVE INC                                                  Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1395 N HAYDEN ROAD                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 SCOTTSDALE, AZ 85257
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 STATE COLLECTION SERVICE INC                                  Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2509 S STOUGHTON RD STE 100                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 MADISON, WI 53716
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 THE ROSE LAW FIRM PLLC                                        Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTORNEYS AT LAW                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 921 MAINSTREET
 PO BOX 5560
 HOPKINS, MN 55343
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     5,745.00
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 21 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                Desc Main
                                                                  Document     Page 45 of 80
 Debtor 1 JOSEPH RICHARD SCHARBER
 Debtor 2 NICOLE LEIGH SCHARBER                                                                         Case number (if known)

                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 5,745.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                52,254.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                93,313.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              145,567.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 22 of 22
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                       Case 19-41622               Doc 1           Filed 05/30/19 Entered 05/30/19 12:00:53                         Desc Main
                                                                    Document     Page 46 of 80
 Fill in this information to identify your case:

 Debtor 1                  JOSEPH RICHARD SCHARBER
                           First Name                         Middle Name              Last Name

 Debtor 2                  NICOLE LEIGH SCHARBER
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                       Case 19-41622                 Doc 1           Filed 05/30/19 Entered 05/30/19 12:00:53             Desc Main
                                                                      Document     Page 47 of 80
 Fill in this information to identify your case:

 Debtor 1                   JOSEPH RICHARD SCHARBER
                            First Name                           Middle Name       Last Name

 Debtor 2                   NICOLE LEIGH SCHARBER
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                            Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                     Check all schedules that apply:


    3.1         ZACHARIAH SCHARBER                                                                   Schedule D, line
                628 BIRCH ST S                                                                       Schedule E/F, line 4.50
                CAMBRIDGE, MN 55008
                                                                                                     Schedule G
                                                                                                   UAS/AFFINITY PLUS CU




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                      Case 19-41622         Doc 1         Filed 05/30/19 Entered 05/30/19 12:00:53                              Desc Main
                                                           Document     Page 48 of 80


Fill in this information to identify your case:

Debtor 1                      JOSEPH RICHARD SCHARBER

Debtor 2                      NICOLE LEIGH SCHARBER
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MINNESOTA FOURTH DIVISION

Case number                                                                                               Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Collections       Age 46                    Accountant          Age 40
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       DCM Services                                Go Next

       Occupation may include student        Employer's address
       or homemaker, if it applies.
                                                                   Richfield, MN                               Edina, MN

                                             How long employed there?         1 month                                    6 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1       For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $        3,440.00      $           4,523.00

3.     Estimate and list monthly overtime pay.                                                3.   +$             0.00     +$               0.00

4.     Calculate gross Income. Add line 2 + line 3.                                           4.    $      3,440.00            $     4,523.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
              Case 19-41622             Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                      Document     Page 49 of 80

Debtor 1   JOSEPH RICHARD SCHARBER
Debtor 2   NICOLE LEIGH SCHARBER                                                                 Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      3,440.00       $         4,523.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        688.00       $           742.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $             0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $             0.00
     5e.    Insurance                                                                     5e.        $          0.00       $           705.00
     5f.    Domestic support obligations                                                  5f.        $          0.00       $             0.00
     5g.    Union dues                                                                    5g.        $          0.00       $             0.00
     5h.    Other deductions. Specify: HSA                                                5h.+       $          0.00 +     $           108.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            688.00       $        1,555.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,752.00       $        2,968.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00   $                0.00
     8g. Pension or retirement income                                                     8g.        $              0.00   $                0.00
                                               Household Cont from Son for Car
     8h.    Other monthly income. Specify:     Insurance                                  8h.+ $                    0.00 + $           130.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           130.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,752.00 + $       3,098.00 = $           5,850.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          5,850.00
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
              Case 19-41622                Doc 1         Filed 05/30/19 Entered 05/30/19 12:00:53                                     Desc Main
                                                          Document     Page 50 of 80


Fill in this information to identify your case:

Debtor 1                 JOSEPH RICHARD SCHARBER                                                           Check if this is:
                                                                                                               An amended filing
Debtor 2                 NICOLE LEIGH SCHARBER                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MINNESOTA FOURTH DIVISION                                      MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            child                                17                   Yes
                                                                                                                                             No
                                                                                   child                                22                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,959.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
            Case 19-41622                  Doc 1         Filed 05/30/19 Entered 05/30/19 12:00:53                                      Desc Main
                                                          Document     Page 51 of 80

Debtor 1     JOSEPH RICHARD SCHARBER
Debtor 2     NICOLE LEIGH SCHARBER                                                                     Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               350.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                               146.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                               265.00
      6d. Other. Specify: Netflix                                                                            6d.   $                                12.00
             Hulu                                                                                                  $                                45.00
7.    Food and housekeeping supplies                                                           7.                  $                               655.00
8.    Childcare and children’s education costs                                                 8.                  $                                27.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               150.00
10.   Personal care products and services                                                    10.                   $                               200.00
11.   Medical and dental expenses                                                            11.                   $                                30.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 150.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   19.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  330.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  560.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  312.00
      17c. Other. Specify: Violin Lease                                                    17c. $                                                   27.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Student Loans                                                       21. +$                                                110.00
      Pet Expenses                                                                                +$                                               100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,847.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,847.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,850.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,847.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    3.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                         Desc Main
                                                                  Document     Page 52 of 80




 Fill in this information to identify your case:

 Debtor 1                    JOSEPH RICHARD SCHARBER
                             First Name                     Middle Name             Last Name

 Debtor 2                    NICOLE LEIGH SCHARBER
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ JOSEPH RICHARD SCHARBER                                               X   /s/ NICOLE LEIGH SCHARBER
              JOSEPH RICHARD SCHARBER                                                   NICOLE LEIGH SCHARBER
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       May 30, 2019                                                   Date    May 30, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                                  Document     Page 53 of 80


 Fill in this information to identify your case:

 Debtor 1                  JOSEPH RICHARD SCHARBER
                           First Name                       Middle Name                  Last Name

 Debtor 2                  NICOLE LEIGH SCHARBER
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                         $4,540.00           Wages, commissions,                $20,169.00
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                                  Document     Page 54 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

                                                      Wages, commissions,                           $290.00           Wages, commissions,                    $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $33,774.00            Wages, commissions,            $25,409.00
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                         $6,139.00           Wages, commissions,            $16,671.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $48,816.00            Wages, commissions,            $13,014.00
 (January 1 to December 31, 2017 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                         $2,392.00           Wages, commissions,            $18,339.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For the calendar year before that:                                                                    $0.00       Unemployment                        $11,440.00
 (January 1 to December 31, 2017 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                               Desc Main
                                                                  Document     Page 55 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       SPIRE CREDIT UNION                                        Monthly Auto                   $1,641.00            $8,166.00        Mortgage
       ATTN: BANKRUPTCY DEPT.                                    Payments                                                             Car
       2025 LARPENTUR AVE WEST
                                                                                                                                      Credit Card
       FALCON HEIGHTS, MN 55113
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       CENTER FOR DIAGNOSTIC                                     CIVIL JUDGMENT             HENNEPIN COUNTY                            Pending
       IMAGING vs NICOLE SCHARBER                                                           DISTRICT COURT                             On appeal
       27CV194209
                                                                                                                                       Concluded

                                                                                                                                    Judgement




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                   Desc Main
                                                                  Document     Page 56 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                      Value of the
                                                                                                                                                           property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was              Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                 Desc Main
                                                                  Document     Page 57 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)


       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       ALLEN CREDIT & DEBT COUNSELING                                Consumer Credit Counseling                               4/10/2019                       $0.00
       AGENCY
       20003 387TH AVE
       WOLSEY, SD 57384


       Hoglund, Chwialkowski & Mrozik P.L.L.C                        Filing fee in the amount of $335 and                                                     $0.00
       1781 West County Road B                                       attorney fees in the amount of $2,200 paid
       PO Box 130938                                                 from the debtor's earnings prior to the
       Roseville, MN 55113-4052                                      filing of this case.
       bestcase@hoglundlaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Debtor                                                        Wife cashed out $8300 from                                                 4/19/2018
                                                                     her PERA account, which was
                                                                     used for car payments and
       Wife                                                          maintanance, mortgage
                                                                     payments, utilities and cell
                                                                     phone payments, insurance
                                                                     payment, student loan
                                                                     payment, $2383 towards credit
                                                                     card bills and $480 on a
                                                                     payday loan


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                             Desc Main
                                                                  Document     Page 58 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                        Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was       Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,      before closing or
       Code)                                                                                                            moved, or                   transfer
                                                                                                                        transferred
       US Bank                                                   XXXX-                            Checking              Checking and                    $0.00
                                                                                                  Savings               Savings account
                                                                                                  Money Market          closed in 2019
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                         have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                 have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                 Case 19-41622                      Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                                  Desc Main
                                                                  Document     Page 59 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                            Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you          Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                    Status of the
       Case Number                                                   Name                                                                             case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Joseph Scharber Independent                               Independent Contractor, Instacart                   EIN:       SSN
       Contractor                                                Assets: $0; A/R: $0; Debt: $0
                                                                                                                     From-To    2017- February 2019


       Nicole Scharber Independent                               Independent Contractor, Instacart                   EIN:       SSN
       Contractor                                                Assets: $0; A/R: $0; Debt: $0
                                                                                                                     From-To    2017 - December 2018


       Nicole Scharber, Etsy Sales                               Sole Proprietor, Etsy Sales                         EIN:       SSN
                                                                 Assets: $0; A/R: $0; Debt: $0
                                                                                                                     From-To    2016 -2018




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                 Case 19-41622                      Doc 1        Filed 05/30/19 Entered 05/30/19 12:00:53                           Desc Main
                                                                  Document     Page 60 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 8
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                           Desc Main
                                                                  Document     Page 61 of 80
 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                       Case number (if known)



 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ JOSEPH RICHARD SCHARBER                                             /s/ NICOLE LEIGH SCHARBER
 JOSEPH RICHARD SCHARBER                                                 NICOLE LEIGH SCHARBER
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date     May 30, 2019                                                   Date     May 30, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53               Desc Main
                                                                  Document     Page 62 of 80

 Fill in this information to identify your case:

 Debtor 1                  JOSEPH RICHARD SCHARBER
                           First Name                       Middle Name              Last Name

 Debtor 2                  NICOLE LEIGH SCHARBER
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA FOURTH DIVISION

 Case number
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          ONEMAIN FINANCIAL                                   Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of 2012 Mazda 3 Touring 115,000                             Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: FMV: Edmunds- Private Party,
                   Clean


    Creditor's          SPIRE CREDIT UNION                                  Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of 2013 Hyundai Santa Fe 100,000                            Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: FMV: Edmunds- Private Party,
                   Clean


    Creditor's          SPIRE CREDIT UNION                                  Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of        2013 Hyundai Santa Fe 100,000                     Reaffirmation Agreement.
                          miles

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                           Desc Main
                                                                  Document     Page 63 of 80

 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                  Case number (if known)


    property            FMV: Edmunds- Private Party,                        Retain the property and [explain]:
    securing debt:      Clean                                             Debtor will continue to make voluntary
                                                                         payments.


    Creditor's     US BANK HOME MORTGAGE                                    Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 8947 Eden Prairie Rd Eden                                Reaffirmation Agreement.
    property       Prairie, MN 55347 Hennepin                               Retain the property and [explain]:
    securing debt: County
                   Homestead:
                   Legally described as:
                   Lot 3, Block 1, Eden Hills First
                   Addition, according to the plat
                   thereof on file and of record in the
                   Office of the Registrar of Deeds, in
                   and

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                     Desc Main
                                                                  Document     Page 64 of 80

 Debtor 1      JOSEPH RICHARD SCHARBER
 Debtor 2      NICOLE LEIGH SCHARBER                                                                 Case number (if known)


property that is subject to an unexpired lease.

 X     /s/ JOSEPH RICHARD SCHARBER                                                  X /s/ NICOLE LEIGH SCHARBER
       JOSEPH RICHARD SCHARBER                                                         NICOLE LEIGH SCHARBER
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        May 30, 2019                                                     Date    May 30, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 3

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                   Desc Main
                                                                  Document     Page 65 of 80
LOCAL FORM 1007-1
REVISED 06/16
                                                               United States Bankruptcy Court
                                                               District of Minnesota Fourth Division
            JOSEPH RICHARD SCHARBER
 In re      NICOLE LEIGH SCHARBER                                                                            Case No.
                                                                                    Debtor(s)                Chapter    7


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named
debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the
bankruptcy case is as follows:

 For legal Services, I have agreed to accept ............................                     $   2,200.00
 Prior to the filing of this statement I have received                     ..............     $   2,200.00
 Balance Due ............................................................................     $   0.00


2.     The source of the compensation paid to me was:
             Debtor                               Other (specify)

3.     The source of the compensation to be paid to me is:
             Debtor                                 Other (specify) none

4.      I have not agreed to share the above-disclosed compensation with any other person unless they are members and
associates of my law firm.

        I have agreed to share the above-disclosed compensation with another person or persons who are not members or
associates of my law firm. A copy of the agreement, together with a list of the names of the people or entities sharing in
the compensation, is attached.

5.    In return for the above-disclosed fee, together with such further fee, if any, as is provided in the written contract
required by 11 U.S.C. §528(a)(1), I have agreed to render legal service for all aspects of the bankruptcy case, including:

         A. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
         petition in bankruptcy;

         B. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

         C. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
         thereof;

         D. Representation of the debtor in contested bankruptcy matters; and

         E. Other services reasonably necessary to represent the debtor(s).

6. Pursuant to Local Rules 1007-1 and 1007-3-1, I have advised the debtor of the requirements in the Statement of
Financial Affairs to disclose all payments made, or property transferred, by or on behalf of the debtor to any person,
including attorneys, for consultation concerning debt consolidation or reorganization, relief under bankruptcy law, or
preparation of a petition in bankruptcy. I have reviewed the debtor's disclosures and they are accurate and complete to the
best of my knowledge.




                                                                                Page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                                                                  Document     Page 66 of 80
LOCAL FORM 1007-1
REVISED 06/16
                                                                       CERTIFICATION

       I certify that the foregoing, together with the written contract required by 11 U.S.C. §528(a)(1), is a complete
statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy case.

 Dated: May 28, 2019                                                          Signature of Attorney
                                                                              /s/ Robert J. Hoglund
                                                                              Robert J. Hoglund 210997




                                                                            Page2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                 Best Case Bankruptcy
                       Case 19-41622              Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                 Desc Main
                                                                  Document     Page 67 of 80

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1               JOSEPH RICHARD SCHARBER
 Debtor 2               NICOLE LEIGH SCHARBER                                                              1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                           2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            District of Minnesota Fourth Division
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                           211.48        $         4,522.97
  3. Alimony     and maintenance   payments.   Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $           130.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                       $             210.68
        Ordinary and necessary operating expenses                    -$              0.00
        Net monthly income from a business,                                                  Copy
        profession, or farm                                          $             210.68 here -> $                 210.68        $              0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $     0.00
        Ordinary and necessary operating expenses                         -$    0.00
        Net monthly income from rental or other real property             $     0.00 Copy here -> $                     0.00      $              0.00
                                                                                                       $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                                 Desc Main
                                                                  Document     Page 68 of 80
 Debtor 1     JOSEPH RICHARD SCHARBER
 Debtor 2     NICOLE LEIGH SCHARBER                                                                       Case number (if known)



                                                                                                      Column A                      Column B
                                                                                                      Debtor 1                      Debtor 2 or
                                                                                                                                    non-filing spouse
  8. Unemployment compensation                                                                        $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                          $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             . Previous job                                                                           $            1,524.83         $           0.00
                                                                                                      $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                     +    $                  0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                $       1,946.99          +   $       4,652.97     =   $      6,599.96

                                                                                                                                                    Total current monthly
                                                                                                                                                    income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>             $          6,599.96

              Multiply by 12 (the number of months in a year)                                                                                           x 12
       12b. The result is your annual income for this part of the form                                                                    12b. $          79,199.52

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                 MN

       Fill in the number of people in your household.                        3
       Fill in the median family income for your state and size of household.                                                             13.   $         94,312.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ JOSEPH RICHARD SCHARBER                                            X /s/ NICOLE LEIGH SCHARBER
                JOSEPH RICHARD SCHARBER                                                    NICOLE LEIGH SCHARBER
                Signature of Debtor 1                                                      Signature of Debtor 2
        Date May 30, 2019                                                          Date May 30, 2019
             MM / DD / YYYY                                                             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.



Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                  Desc Main
                                                                  Document     Page 69 of 80
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                    Desc Main
                                                                  Document     Page 70 of 80


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                    Desc Main
                                                                  Document     Page 71 of 80
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53                 Desc Main
                                                                  Document     Page 72 of 80
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
                 Case 19-41622                    Doc 1          Filed 05/30/19 Entered 05/30/19 12:00:53             Desc Main
                                                                  Document     Page 73 of 80




                                                               United States Bankruptcy Court
                                                               District of Minnesota Fourth Division
            JOSEPH RICHARD SCHARBER
 In re      NICOLE LEIGH SCHARBER                                                                      Case No.
                                                                                 Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 30, 2019                                                   /s/ JOSEPH RICHARD SCHARBER
                                                                      JOSEPH RICHARD SCHARBER
                                                                      Signature of Debtor

 Date: May 30, 2019                                                   /s/ NICOLE LEIGH SCHARBER
                                                                      NICOLE LEIGH SCHARBER
                                                                      Signature of Debtor




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
    Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                             Document     Page 74 of 80

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      ALTRAN HEALTH INC
                      200 14TH AVE E
                      SARTELL MN 56377



                      AMERICAN ACCOUNTS & ADVISERS INC
                      7460 80TH ST S
                      COTTAGE GROVE MN 55016-3007



                      AMEX
                      CORRESPONDENCE/BANKRUPTCY
                      PO BOX 981540
                      EL PASO TX 79998



                      BEHAVIORAL HEALTH CARE PROVIDERS
                      1405 NORTH LILAC DR
                      GOLDEN VALLEY MN 55405



                      CAPITAL ONE
                      ATTN: BANKRUPTCY
                      PO BOX 30285
                      SALT LAKE CITY UT 84130



                      CAPITAL ONE
                      PO BOX 30253
                      SALT LAKE CITY UT 84130-0253



                      CHASE CARD SERVICES
                      ATTN: BANKRUPTCY
                      PO BOX 15298
                      WILMINGTON DE 19850



                      CITIBANK
                      ATTN: RECOVERY/CENTRALIZED BANKRUPTCY
                      PO BOX 790034
                      ST LOUIS MO 63179



                      CITIBANK
                      PO BOX 6243
                      SIOUX FALLS SD 57117
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 75 of 80


                  COMENITY BANK/LANE BRYANT
                  ATTN: BANKRUPTCY
                  PO BOX 182125
                  COLUMBUS OH 43218



                  CREDIT FIRST NATIONAL ASSOCIATION
                  ATTN: BANKRUPTCY
                  PO BOX 81315
                  CLEVELAND OH 44181



                  DEPARTMENT OF EDUCATION/NELNET
                  ATTN: CLAIMS
                  PO BOX 82505
                  LINCOLN NE 68501



                  DS ERICKSON & ASSOCIATES PLLC
                  920 2ND AVE S STE 800
                  MINNEAPOLIS MN 55402



                  EMERGENCY PHYSICIANS PA
                  NW 6438 PO BOX 1450
                  MINNEAPOLIS MN 55485-6440



                  FAIRIVEW PHARMACY
                  909 FULTON ST SE
                  MINNEAPOLIS MN 55455



                  FAIRVIEW CLINICS BURNSVILLE
                  303 E NICOLLET BLVD
                  BURNSVILLE MN 55337



                  FAIRVIEW CLINICS EDEN PRAIRIE
                  830 PRAIRIE CENTER DR
                  EDEN PRAIRIE MN 55344



                  FAIRVIEW COUNSELING CENTER EDINA
                  3400 W 66TH ST
                  MINNEAPOLIS MN 55435
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 76 of 80


                  FAIRVIEW HEALTH SERVICES
                  PO BOX 9372
                  MINNEAPOLIS MN 55440-9372



                  FAIRVIEW ORTHOTICS-PROSTHETICS
                  2200 UNIVERSITY AVE W
                  #110
                  SAINT PAUL MN 55114



                  FAIRVIEW SPORTS & ORTHOPEDIC MEDICINE
                  10961 CLUB W PKWY NE
                  BLAINE MN 55449



                  FIRST NATIONAL BANK
                  ATTN: BANKRUPTCY
                  1620 DODGE ST MAILSTOP 4440
                  OMAHA NE 68197



                  HALVORSON LANGEMO & PASCHKE
                  W 311 10TH AVE S
                  BUFFALO MN 55313



                  HEALTHEAST MEDICAL TRANSPORTATION
                  NW 7205
                  PO BOX 1450
                  MINNEAPOLIS MN 55485-7205



                  HENNEPIN COUNTY MEDICAL CENTER
                  730 S 8TH ST
                  MINNEAPOLIS MN 55415



                  IC SYSTEMS INC
                  444 HWY 96 E
                  PO BOX 64378
                  SAINT PAUL MN 55164-0378



                  IRS
                  PO BOX 7346
                  PHILADELPHIA PA 19101
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 77 of 80


                  IRS
                  30 E 7TH STREET SUITE 1222
                  MAIL STOP 5700
                  SAINT PAUL MN 55101



                  KOHLS/CAPITAL ONE
                  PO BOX 3115
                  MILWAUKEE WI 53201



                  KOHLS/CAPITAL ONE
                  ATTN: BANKRUPTCY
                  PO BOX 30285
                  SALT LAKE CITY UT 84130



                  MALACKO LAW OFFICE
                  PO BOX 135
                  COTTAGE GROVE MN 55016-0135



                  MENTAL HEALTH SYSTEMS
                  1700 S HIGHWAY 36 W
                  STE 130
                  ROSEVILLE MN 55113



                  MESSERLI & KRAMER PA
                  3033 CAMPUS DR STE 250
                  PLYMOUTH MN 55441



                  MEYER & NJUS TANICK PA
                  330 2ND AVE S STE 350
                  MINNEAPOLIS MN 55401-2212



                  MIDLAND CREDIT MANAGEMENT
                  PO BOX 301030
                  LOS ANGELES CA 90030



                  MN DEPT OF REVENUE
                  551 BKCY SECTION CEU DEPT
                  PO BOX 64447
                  SAINT PAUL MN 55164
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 78 of 80


                  NAVIENT
                  ATTN: BANKRUPTCY
                  PO BOX 9000
                  WILES-BARR PA 18773



                  NAVIENT
                  PO BOX 9500
                  WILKES BARRE PA 18773



                  NYSTROM & ASSOCIATES LTD
                  1900 SILVER LAKE RD NW STE 110
                  NEW BRIGHTON MN 55112



                  ONEMAIN FINANCIAL
                  ATTN: BANKRUPTCY
                  601 NW 2ND STREET
                  EVANSVILLE IN 47708



                  PARK DENTAL
                  9055 SPRINGBROOK DR
                  STE 250
                  COON RAPIDS MN 55433



                  PARK NICOLLET CLINIC
                  3800 PARK NICOLLET BLVD
                  SAINT LOUIS PARK MN 55416



                  REVOSLVE INC
                  MSC #600
                  PO BOX 52163
                  PHOENIX AZ 85072



                  REVSOLVE INC
                  1395 N HAYDEN ROAD
                  SCOTTSDALE AZ 85257
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 79 of 80


                  SPIRE CREDIT UNION
                  ATTN: BANKRUPTCY DEPT.
                  2025 LARPENTUR AVE WEST
                  FALCON HEIGHTS MN 55113



                  SPIRE CREDIT UNION
                  2025 LARPENTEUR AVE
                  FALCON HEIGHTS MN 55113



                  STATE COLLECTION SERVICE INC
                  2509 S STOUGHTON RD STE 100
                  MADISON WI 53716



                  SYNCB/BECKER FURNITURE WORLD
                  ATTN: BANKRUPTCY
                  PO BOX 965060
                  ORLANDO FL 32896



                  SYNCHRONY BANK/LOWES
                  ATTN: BANKRUPTCY
                  PO BOX 965060
                  ORLANDO FL 32896



                  TARGET
                  ATTN: BANKRUPTCY
                  PO BOX 9475
                  MINNEAPOLIS MN 55440



                  THE ROSE LAW FIRM PLLC
                  ATTORNEYS AT LAW
                  921 MAINSTREET
                  PO BOX 5560
                  HOPKINS MN 55343



                  TNB-VISA (TV) / TARGET
                  C/O FINANCIAL & RETAIL SERVICES
                  MAILSTOP BV PO BOX 9475
                  MINNEAPOLIS MN 55440
Case 19-41622   Doc 1   Filed 05/30/19 Entered 05/30/19 12:00:53   Desc Main
                         Document     Page 80 of 80


                  UAS/AFFINITY PLUS CU
                  2750 E SNELLING SER DR
                  ROSEVILLE MN 55113



                  UNIVERSITY OF MINNESOTA MEDICAL CENTER
                  516 DELAWARE ST SE
                  MINNEAPOLIS MN 55455



                  US BANK HOME MORTGAGE
                  ATTN: BANKRUPTCY
                  800 NICOLLET MALL
                  MINNEAPOLIS MN 55402



                  US BANK/RMS CC
                  ATTN: BANKRUPTCY
                  PO BOX 5229
                  CINCINNATI OH 45201



                  ZACHARIAH SCHARBER
                  628 BIRCH ST S
                  CAMBRIDGE MN 55008
